         Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 1 of 115

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                                                                                                             Fax: +1 (212) 422-4726
                                                                                                               hugheshubbard.com




                                                            January 16, 2019



VIA ECF

Honorable Michael P. Shea
United States District Court, District of Connecticut
Abraham A. Ribicoff Federal Building
450 Main Street, Room 217
Hartford, CT 06103

              Re:        Audet v. Fraser, et al., No. 16-cv-00940 (D. Conn):
                         Plaintiffs’ Violation of Scheduling Order

Dear Judge Shea:
        On behalf of defendant Stuart A. Fraser (“Fraser”), we write regarding the untimely
subpoena Plaintiffs served on non-party PayPal Holdings, Inc. (“PayPal”) dated November 9,
2018, of which Plaintiffs notified Fraser on November 13, 2018 (the “Subpoena,” attached as
Ex. A). After speaking with the Court’s representative on November 26, 2018, the parties
conferred further without resolution and agreed to submit letters by 5:00 pm on January 16,
2019. To the extent Plaintiffs ask the Court to clarify its order granting the parties’ motion for an
extension of fact discovery to take the deposition of Homero Joshua Garza (“Garza”), Fraser
does not oppose such clarification. (See ECF No. 101, 102.) To the extent Plaintiffs now seek
leave to serve the Subpoena, Fraser opposes that request because the Subpoena is untimely,
having been served on PayPal three months after the fact discovery deadline, and Plaintiffs
cannot show good cause for their delay. Accordingly, the Court should quash the Subpoena.
        First, the Court ordered completion of fact discovery by August 10, 2018 (ECF. No. 83),
but Plaintiffs failed to subpoena PayPal by that deadline. Instead, they waited 13 weeks after
that deadline to serve the Subpoena. Court scheduling deadlines “are not advisory” or “to be
ignored at the parties’ discretion.” Woodley v. Bryant, No. 07 Civ. 1399(BSJ) (MHD), 2008 WL
1752248, at *1 (S.D.N.Y. Apr. 15, 2008); see also Fed. R. Civ. P. 16(b)(1), (b)(3)(A).
Subpoenas to third parties are “not exempt from discovery deadlines in scheduling orders.”
Whitserve, LLC v. GoDaddy.com, Inc., No. 3:11–CV–948 (JCH), 2013 WL 1442449, at *3 (D.
Conn. Apr. 9, 2013). Although the parties jointly moved for three discovery extensions solely to
take the deposition of Garza, which the Court granted, 1 in none of those requests did Plaintiffs


1.   See ECF No. 91 (first joint motion), 92 (order granting first limited extension), 101 (second joint motion
     requesting a “limited extension of the fact discovery deadline for purposes of taking” Garza’s deposition), 102
     (order granting second limited extension), 110 (third joint motion), 115 (order granting third extension “for the
     limited purpose of allowing the parties to take” Garza’s deposition).
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 2 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 3 of 115




       Exhibit A
      Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 4 of 115




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

DENIS MARC AUDET, MICHAEL                   Case 3:16-cv-00940
PFEIFFER, DEAN ALLEN SHINNERS,
and JASON VARGAS, Individually and          ECF Case
on Behalf of All Others Similarly
Situated,                                   CLASS ACTION

                         Plaintiffs,
                                            PLAINTIFFS’ NOTICE OF
      vs.                                   SUBPOENA TO PAYPAL
                                            HOLDINGS, INC.
STUART A. FRASER, GAW MINERS,
LLC, and ZENMINER, LLC, (d/b/a ZEN          DEMAND FOR JURY TRIAL
CLOUD),

                         Defendants.


      Please take notice that, per FRCP 45, plaintiffs Denis Marc Audet, Michael

Pfeiffer, and Dean Allen Shinners, and Jason Vargas, by and through their

attorneys of record, Susman Godfrey LLP and Izard, Kindall, and Raabe, LLP have

served the subpoena attached as Exhibit 1 on PayPal Holdings, Inc.


DATED: November 13, 2018


                                            Respectfully submitted,

                                            s/ Colin M. Watterson
                                            Colin Watterson (pro hac vice)
                                            cwatterson@susmangodfrey.com
                                            Texas Bar No. 2409330
                                            SUSMAN GODFREY L.L.P.
                                            1000 Louisiana Street, Suite 5100
                                            Houston, TX 77002
                                            Tel: (713) 651-9366

                                            Marc Seltzer (pro hac vice)
                                            mseltzer@susmangodfrey.com



                                        1
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 5 of 115




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                                   California Bar No. 219247
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                                   Seth Ard (pro hac vice)
                                   sard@susmangodfrey.com
                                   New York Bar No. 4773982
                                   SUSMAN GODFREY L.L.P.
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                                   New York, NY 10019-6022
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                                   esargent@susmangodfrey.com
                                   SUSMAN GODFREY L.L.P.
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                                   IZARD, KINDALL & RAABE, LLP
                                   29 S. Main St., Suite 305
                                   West Hartford, CT 06107
                                   Tel: (860) 493-6292

                                   Counsel for Plaintiffs




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      Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 6 of 115




                                Certificate of Service

      I hereby certify that on November 13, 2018, I served the foregoing via

electronic mail on the following:

Daniel H. Weiner
Sarah L. Cave
Sara E. Echenique
HUGHES HUBBARD & REED LLP
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sarah.cave@hugheshubbard.com
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Sean M. Fisher
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BRENNER, SALTZMAN & WALLMAN LLP
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                                              s/ Colin M. Watterson
                                              Colin M. Watterson




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Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 7 of 115




          EXHIBIT 1
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 8 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 9 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 10 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 11 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 12 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 13 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 14 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 15 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 16 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 17 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 18 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 19 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 20 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 21 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 22 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 23 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 24 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 25 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 26 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 27 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 28 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 29 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 30 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 31 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 32 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 33 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 34 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 35 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 36 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 37 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 38 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 39 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 40 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 41 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 42 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 43 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 44 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 45 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 46 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 47 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 48 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 49 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 50 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 51 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 52 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 53 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 54 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 55 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 56 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 57 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 58 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 59 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 60 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 61 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 62 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 63 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 64 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 65 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 66 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 67 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 68 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 69 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 70 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 71 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 72 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 73 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 74 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 75 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 76 of 115




        Exhibit B
           Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 77 of 115




From:                Jonah Dorman
Sent:                Friday, January 2, 2015 8:45 AM PST
To:                  Eric Capuano
CC:                  Luke Rusten; Amanda Veilleux; Josh Garza
Subject:             Re: pls check




We have someone who has attempted more than one chargeback?

Who is it?

Let's go over the order history and costs of closure.

--
Jonah Dorman
General Manager
GAW Miners LLC
O: (860) 222-2631
C: (727) 386-6825
________________




On Thu, Jan 1, 2015 at 1:57 PM, Eric Capuano <eric@btc.com> wrote:
 So the guy is a scammer who's trying to pressure us into unlocking his account. Keep
 researching his claims, request GAW Miners receipts showing proof of purchase with order
 number.

 If you can't find it, he didn't buy it. shut him down and close the account.


 On Thursday, January 1, 2015, Luke Rusten <lrusten@gawminers.com> wrote:
  Also just to add to this, he attempted a charge back on another order (we won) and he has also
  changed his email address on Zencloud (in my opinion to try to game the system).

   On Thu, Jan 1, 2015 at 11:28 AM, Amanda Veilleux <amanda@gawminers.com> wrote:
    Hi Jonah and Eric,

     This ticket has come in question a few times now and the customer has posted on HashTalk. I
     have recorded the information I was asked for on the ticket. Can you please tell me where we
     stand or provide instructions on what action you would like me to take?
    Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 78 of 115




 https://gawminers.freshdesk.com/helpdesk/tickets/45892

 TL;DR - This customer's account is on withdrawal hold due to non payment of an order. I
 searched Braintree and was unable to find any captured funds yet the customer claims we
 have the money. Receipts / screenshots attached to my note on the ticket.

 Thank you!
 Amanda



 ---------- Forwarded message ----------
 From: Josh Garza <josh@gaw.com>
 Date: Wed, Dec 31, 2014 at 11:33 PM
 Subject: pls check
 To: Luke Rusten <lrusten@gawminers.com>, Amanda Veilleux <amanda@gawminers.com>


 https://hashtalk.org/topic/26300/45892-btc-account-hold-not-resolved-what-are-you-doing-
 gaw


 Josh Garza
 CEO- GAW Corp




--
Luke Rusten
TS Manager
GAW Miners LLC
O: (866) 554-5861 x300
C: (802) 275-8932




--
Eric Capuano
      Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 79 of 115




Information Security Officer
Geniuses at Work, Corp.
O: (860) 237-3298
C: (860) 800-6123
PGP Public Key
________________
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 80 of 115




        Exhibit C
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 81 of 115
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 82 of 115




        Exhibit D
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         Exhibit F
1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                          Filed 01/16/19 Page 92 of 115



                                                                                               News & Updates Contact



    AUG            GAWsuit Update August 13, 2016
    14             By GawSuit | Uncategorized | No Comments


                   Hello Everyone.



                   GAWsuit is progressing through the court system here in the United States, and I wanted to post a more recent
                   update.



                   Both defendants were served successfully with their respective summons. The time clock is now ticking for the
                   defendants to respond to the allegations levied in the lawsuit that was filed.



                   As of Friday, a motion for the lawsuit to be certified as ab“class status” was filed. The court will now determine
                   whether the conditions are in place for the lawsuit to be certifiedbas a class action lawsuit.



                   I do not know the time frame for the court to make the decision on class action status, but from the flurry of
                   activity in the past month, I do not expect the certificationbto take tooblong. Meanwhile there has been a stay of
                   the lawsuit itself, pending the court’s reclassification of the lawsuit (certification) as a class action lawsuit. I have
                   attached the PDF of the Mtion for Class Action Certification. If you have created a PACER account, here in the
                   U.S., you can also view the other documents available from the lawsuit. There are now 18 items in the lawsuit
                   file list.



                   Motion for Class Action Certification



                   Best regards,



                   Allen




    JUN            The Lawsuit Complaint Has Been Filed With The Court
    16             By GawSuit | Uncategorized | No Comments


                   Hello Everyone.


https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                              1/20
1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                          Filed 01/16/19 Page 93 of 115
                   This post is not coming directly from the law firms representing us. It is a personal informational                   
                   announcement only.

                                                                                             News & Updates Contact
                   Today marks the first major milestone of a long process we embarked upon over a year ago: The successful
                   filing of a class action lawsuit by the law firms Susman and Godfrey L.L.P. and Izard Nobel L.L.P. The complaint
                   was filed in the District Court of Connecticut today as case # 3:16-cv-00940.



                   If you have access to the electronic case filing system, you can find the filing here:



                   https://ecf.ctd.uscourts.gov/cgi-bin/DktRpt.pl?6295529302171-L_1_0-1



                   What will happen next?



                   The case has to be accepted and certified as a class action by the court. Once the case has been accepted and
                   certified as a class action, then an initial discovery period will commence. As you all know, I have been gathering
                   archival evidence since before March of 2015, prior to announcing that I was considering forming a lawsuit on

                   April 17th, 2015. I will not go into details of what evidence we have, but it is quite extensive. I will add that GAW’s
                   activities, through the various forums and websites, were probably the most and best chronicled in the Crypto
                   Industry, through online archiving websites such as WayBackMachine, Archive.is and Bitcointalk. There are quite
                   literally tens of thousands of “snapshots” of posts and such permanently archived.



                   To address some of the questions I am anticipating to be posed, I have included a basic Q&A below.



                   Question: bHow long of a process will this be?



                   Answer:b There is no way to know how long this will take.



                   Question:b What kind of class action lawsuit is this?



                   Answer:b To the best of my knowledge, this will be an “opt-out” class action, should it be certified as a class
                   action lawsuit by the court. An “opt-out” class action lawsuit allows anyone to withdraw from the “class” or
                   group to pursue their own separate litigation against the defendant(s). If you choose to remain in the class, the
                   final result of the litigation (win or lose), will be final and you will not be able to pursue any subsequent legal
                   action(s) relating to the charges and or allegations listed in the class action lawsuit.



                   You can read about class action lawsuits (U.S. version) here:



                   https://www.law.duke.edu/grouplit/papers/classactionalexander.pdf



                   Question:b When can I expect to see compensation?



https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                            2/20
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                                                             Filed 01/16/19 Page 94 of 115
                   Answer:b We have to win the case then, we have to collect on any award. Since this is a “jury trial,” to the best of
                                                                                                                                     
                   my knowledge, the jury will determine the amount of the award and any amount for damages. The attorney

                                                                                            News & Updates Contact
                   fees are determined by the court in such matters, but “typically” are around 30% of the value of the award. The
                   attorney fees are withheld from collected award amounts.



                   b



                   Please check back to GAWsuit.com for any updates in the future. If you have ECF access to the court system
                   case documents, you can follow everything there as well. Although this will be a long process, I will endeavor to
                   post whatever the law firms request, as well as post a few lines to keep everyone up to date on any
                   developments which occur.




    FEB            GAWsuit Update
    13             By GawSuit | Uncategorized | No Comments


                   Hello Everyone,



                   I have been receiving a lot of emails about the lawsuit of late. I was waiting for the law firm to prepare a proper
                   announcement, but it has been too long since I posted an update. Therefore, I decided I will post a new update
                   on the status today, versus keeping everyone in the dark.



                   Most, if not all, future announcements will invariably emanate from the law firm directly. I will post them here
                   as they are made available.



                   The Search



                   As you all know, I had been in conversations with a number of lawyers and law firms since Aprilb2015. After a
                   number of negative experiences, we were finally putbin touch with a highly prestigious law firm, with over 100
                   attorneys, and multiple offices around the United States. We started thebdialogue in August of 2015.



                   We have had many conference calls, and exchanged many documents with attorneys of the firm. The lawsuit
                   was accepted by the firm on December 30th, 2015.



                   The Discovery Processb



                   As you all know, I have been gathering evidence and copy since early 2015. We are gathering and sorting the
                   information needed to present as evidence to the court, once the “complaint” is filed, and the court certifies




https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                         3/20
1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                          Filed 01/16/19 Page 95 of 115
                   “class status” of the lawsuit. The law firm has done a lot of their own due diligence, but we have previously given
                                                                                                                                    
                   evidence to them over the past six months.

                                                                                             News & Updates Contact
                   A short list of prospective plaintiffs was put forward for review by the law firm.bThose individuals are awaiting
                   their interviews to be completed. The criteria was extensive and we needed to ensure that the class was well-
                   represented, on all levels of the group, both small and large losses, by solid individuals. All of the lead plaintiffs
                   are from the United States, at this juncture, due to the possible requirement for lead plaintiffs to be present
                   during some of court hearings or, during settlement discussions. Should we need additional plaintiffs,
                   representing the internationally-based victims, I will address such a need at that time.



                   Lead Plaintiffs



                   I cannot list who was chosen as lead plaintiffs in the case at this time, as that willbbe disclosed at the time of the
                   filing of the complaint, in the court that will be hearing the case.



                   What is a Class Action Lawsuit



                   For those of you who are outside the United States, a class action lawsuit differs from a normal litigation against
                   an individual or company. In this case, the lawsuit is for the benefit of all victims, the class, where proof exists to
                   substantiate each member’s claims of loss or damages.



                   During the final stage of the lawsuit registration process, we asked registrants to upload their supporting
                   documents to GAWsuit.com. Out of the 501 initial registrants, 171 victims completed the process by uploading
                   their proof of loss documents. These individuals have supported their claims that they lost money from the
                   GAW scheme. In a U.S. court of law, the judge will consider such “complaints” for class status, starting at 21
                   plaintiffs (or when there are 40 or more with supporting evidence). Since 171 people have uploaded their
                   supporting documents, in support of this lawsuit as was requested, we have well above the required 40 or more
                   to substantiate class certification ofbthe lawsuit. For those who did support their claims, by uploading your
                   support documents, you can congratulate yourselves now, as without the supporting documents, we would
                   have had a snowball’s chance in Hades reaching class certification. Now, we have more than enough to justify
                   class certification.



                   Links to explanations of what Class Action Lawsuits entail:



                   Class Action Lawsuit — Legal Definitions



                   How A Class Action Lawsuit Works — Alllaw



                   Frequently Asked Questions — Class Action Lawsuit



                   Any law firm linked to the pages above, is not representingbus in the lawsuit.


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1/14/2019              Case 3:16-cv-00940-MPS Document 121gawsuit
                                                             Filed 01/16/19 Page 96 of 115
                   Lawsuit Member Fees                                                                                                   


                                                                                               News & Updates Contact
                   There are no fees associated with this lawsuit, due from the membership. The law firm is taking the entire
                   lawsuit on a contingency fee basis. The judge decides what that fee will be, after an award has been granted or,
                   a settlement has been reached. The law firm’s fee comes from the award or settlement. The lead plaintiffs will
                   be directly part of the decision whether an award or settlement amount is acceptable to the class hence, the
                   vetting process being undertaken to interview all lead plaintiffs who I have put forward for this lawsuit
                   representation, including myself.



                   When Will I See Money Coming Back?



                   Obviously, we have to win the lawsuit, or agree to a settlement, before this question can be answered. Please
                   do not send me emails asking how much or when you will receive money. I cannot answer this question at this
                   moment in time.



                   Who is the Firm Representing Us?



                   It is the privilege of the law firm to announce their actions on behalf of the class action, at a time of their own
                   choosing. bInvariably, once the “complaint” is filed in court, everyone will know who they are, by default, unless
                   they choose to announce before the “complaint” is filed, on their own website, or through us on GAWsuit.com.



                   Can I Contact the Law Firm After They Have Filed the Complaint?



                   Again, this is up to the law firm, but once the complaint is filed, and the “class is certified” by the court, there will
                   be no need for anyone to contact the law firm, as I “assume” the entire class action will be “opt-out.” Anyone
                   opting out of the class action would do so to file their own, separate lawsuit (see definition below). No one will
                   be able to remain in the class action then, after winning the class action, proceed to file their own lawsuit,
                   unless their lawsuit is for a different reason than that represented by the class action lawsuit.



                   What Does It Mean to Opt-out of a Class Action



                   b



                   Other Sundries:



                   The SEC’s Case



                   As many are aware, the Securities and Exchange Commission (SEC) has already filed their case against GAW
                   Miners, Zenminer/Zencloud and Garza. As of February 12th, the SEC has filed for a default judgment against
                   GAW Miners and Zenminer/Zencloud, for failure to respond. This will have no direct affect on anything, since we
                   all know that GAW Miners and Zencloud/Zenminer were completely depleted of their funds prior to Garza’s

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1/14/2019              Case 3:16-cv-00940-MPS Document 121gawsuit
                                                             Filed 01/16/19 Page 97 of 115
                   flight to the U.A.E. There is not one cent there to be had for the victims, making the procedure purely a                 
                   formality. Garza, however, was not listed in the request for default judgment. Garza’s current attorney has filed

                                                                                               News & Updates Contact
                   for an extension till March 2nd, 2016, to respond to the SEC’s litigation. You can read the latest filing here:



                   http://www.coindesk.com/sec-seeks-10-million-default-judgment-against-gaw-miners/



                   Why is the SEC Only Seeking $10 Million in Reimbursement?



                   Opinion:



                   The SEC is only targeting Hashlets in their case, as unregistered securities. However, the SEC failed, in my
                   opinion, to study directly-sold Hashpoints (unregistered, “convertible” securities), HashStakers (time deposits
                   with a stamped yield and lock-up period) and directly-sold Paycoin (again, as a guaranteed, unregistered
                   security with a stated minimum value, or floor). If you study the definition of “securities” in the SEC complaint,
                   the aforementioned items fit these conditions as well. I am “assuming” that the SEC did not understand how
                   sold Hashpoints, HashStakers and Paycoin were transacted. Maybe the FBI’s case will address these
                   shortcomings in the future, should they file. Moreover, during the course of the SEC case, it maybbe revealed
                   that Garza never claimed the windfall from GAW on his personal tax return to the IRS, which is highly likely. This
                   should precipitate action on their part as well. Garza will eventually have to address multiple litigation actions
                   against him, probably for years to come.



                   Future Posts



                   At this point, the law firm is now in charge of the lawsuit. I will be supporting them in the successful litigation of
                   this suit. I will reach out to individuals privately, should any specific information be needed to support the case,
                   but I am fairly certain we have more than an abundance of supporting documents, and such, to bringbthe
                   litigation to a successful conclusion. As stated previously, any information that the law firm wishes to convey will
                   be done by them directly, through their own means, and mimicked here, by me. Once the complaint has been
                   filed, I will provide a link that will give others access to the filing. More than likely, Coindesk (Stan Higgins) will
                   already have reported the complaint being filed; he seems to be well on top of things as it is.



                   Best regards,



                   Allen



                   b




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https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                                6/20
1/14/2019              Case 3:16-cv-00940-MPS Document 121gawsuit
                                                             Filed 01/16/19 Page 98 of 115

    27             By GawSuit | Uncategorized | No Comments                                                                     

                   October 27th, 2015
                                                                                         News & Updates Contact
                   ALERT! Hoax Email Circulating !



                   Hello Everyone.



                   There was an attempt (albeit a feeble one) to get people to send 0.30 BTC to a Bitcoin address in an email
                   originating from, what appears to be, a Team Paycoin subdomain address. DO NOT SEND ANY COIN TO THAT
                   ADDRESS !!! bAll correspondence covering the lawsuit will originate from gaw.lawsuit.allen1980s@gmail.com
                   AND NO OTHER EMAIL ADDRESS. The person sending the hoax email obviously knows nothing about how
                   lawsuits are conducted (probably some uneducated teen).



                   Best regards,



                   Allen



                   b




    AUG            News and Updates
    21             By GawSuit | Uncategorized | No Comments


                   b




                   September, 21st, 2015



                   Hello Everyone.



                   Welcome to the new website!




https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                   7/20
1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                          Filed 01/16/19 Page 99 of 115
                   In this section, webwill be posting the latest news and developments here, as well as reaching out through Mail
                   Chimp. Please come here frequently to see if there are any developments.

                                                                                             News & Updates Contact
                   If you have any questions about the site or need clarification about any of the requirements, please contact
                   support at support@gawsuit.com.



                   More news coming soon.



                   Best regards,



                   Allen



                   ________________________________________________________________________________________________________________________



                   July 17th, 2015 bOriginal Newsletter




                                                             Dear GAWsuit Members,


                   First, I would like to apologize for the lateness in updating the group about the forming GAW lawsuit (GAWsuit).
                   It has been a very time consuming project, with new members arriving daily. As most of you know, I am involved
                   in a lot of different projects, aside of the lawsuit. I also own a company, and the business of the company keeps
                   me highly active. I would like to thank everyone for his or her patience in this matter. Following, you will find all
                   of the latest developments and issues.



                   The Members



                   At present, our group members come from 47 countries, on all seven continents. The reach of the alleged GAW
                   fraud was extensive. Daily, we receive at least 3 to 4 new applicants to the group, also from around the world.
                   Our membership represents a vast number of different cultures, languages and ethnicities. It represents one of
                   the most diverse private groups in the world today, with nearly every major language class being represented.



                   Change of representation




https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                          8/20
1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 100 of 115
                   We have dropped the initial law firm that we had chosen. It was becoming evident that they were not truly             
                   prepared to handle a lawsuit of this size and complexity. I was getting the impression that they were more

                                                                                             News & Updates Contact
                   concentrated on the potential money they could make, when they discovered how large the group had become.
                   It was at that point that I felt their motivations were more on getting the maximum amount of money upfront,
                   than discussing how to successfully litigate the case. They began to change their decisions on how much money
                   they wanted as a retainer, and they indicated they wanted to bring other law firms into the group, which went
                   against the initial discussions. We felt that their motivations were not in a successful litigation outcome.



                   Through the assistance of one of the members of the group, Coollegaljobs, we believe we have a more
                   experienced attorney who will represent the group properly. We should have final details in the upcoming
                   week, ending in a contract with the firm, hopefully.



                   Evidence is voluminous, and growing



                   As many of you have seen, through the various posts I have made in the forums, we are in possession of an
                   immense amount of intelligence and evidence, which makes this case very clearly that of an alleged fraud.
                   Garza’s flight to Dubai ended in another catastrophe, forcing him to be returned to the United States.b Some of
                   you may have seen the bits and pieces of information on the internet, about Garza’s stay in Dubai. In effect, he
                   was sued by a small group of GAW customers there, initially winning a million dollar plus judgment. Financial
                   fraud and financial irresponsibility is a felony in the U.A.E., leaving Garza with a very real probability of being
                   imprisoned. Unfortunately, Garza’s defense attorney was successful in having the initial award overturned,
                   based on the argument that the crime occurred in the United States, where the case should have been litigated.
                   Garza has since returned to the United States, in complete embarrassment, failure and shame. Regardless of
                   claims he has made publicly, he did not return at the request of the government. He had nowhere else to go.



                   Recent lawsuits against GAW



                   In the interim period, Mississippi Power successfully sued for $300,000 in defaulted payments and damages.
                   The case resulted in a default judgment. Additionally, another case, by two past customers of GAW, resulted in a
                   default judgment as well.b The amount of the judgment was $205,000.



                   GAW Braintree Payments account.



                   Braintree Payments had frozen the GAW credit processing account late in 2014. At the time, we believe, through
                   various confirmations from past employees, that the account contained over $1.4 million. Through a little
                   intelligence gathering, we were able to determine that the Braintree account contains slightly over $500,000
                   currently. The two successful judgments will certainly reduce most, if not all of that balance. Do not worry, as
                   these assets are not the only assets Garza is believed to have at present. At this moment, Garza has two
                   residential properties for sale in Massachusetts and Vermont. The total value of these properties is 1.2 million
                   USD. We will be ensuring full use of the courts in properly identifying and seizing assets ‘wherever we believe
                   they lie.’ As I have stated in the past, I will not rest until we have identified, seized, or encumbered (garnished)
                   every dollar’s worth of assets Garza has stashed away. If we are even half-successful, we will have ruined his


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1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 101 of 115
                   credit rating, as well as leaving him with ongoing judgments that will result in him owing more than he            
                   possesses.

                                                                                             News & Updates Contact
                   Internet speculation and bankruptcy



                   I have seen some conversations, on other forums, about Garza being able to discharge all judgments through a
                   bankruptcy court. Most of these have been posted on Bitcointalk. These statements are highly generalized, far
                   from representing all of the facts. The following:



                   “ There are still other types of debts that may be excepted from discharge, if the creditor files an objection.
                   The creditor must file an adversary proceeding in bankruptcy court, requesting that the court decide that
                   the particular debt is nondischargeable. If the judgment creditor files an objection to your discharge and
                   proves the underlying debt to be any of the following types, it may not be dischargeable:


                   ·bbbbbbbb Injury caused by a willful or malicious act, such as assault;
                   ·bbbbbbbb Fraud used to obtain money, goods or services, such as lying on a credit application, or;
                   ·bbbbbbbb Fraud committed while in a position of trust, such as embezzlement while acting as a trustee or
                   guardian. “


                   As you can see, we will have to be highly diligent in preserving any judgments against Garza in the future. We
                   intend to continue the pursuit of this goal until most, if not all, of any potential judgment is paid. It can be
                   argued that: Garza was a trustee of consumer funds; misrepresented the status, liquidity and capabilities of
                   GAW; redirected consumer funds to private accounts, while also effectively piercing the corporate veil, and;
                   mixed personal and corporate finances together, on a regular basis. We have hard evidence of these activities,
                   as does most of the membership in the group.



                   Severe, damaging repercussions from the alleged GAW fraud



                   The actions of GAW and Garza have resulted in numerous breakups of households, as well as several known
                   individuals losing some, most, or all of their possessions, as well as jobs; all as a result of the overwhelming
                   alleged fraud. In one instance, an individual was explicitly told to hold on to their GAW investments, even after
                   losing over 50% of the value. This was the advice of the CEO (Garza) to the investor, who lost 98% of the total
                   value of their investment to date. The investment was being made to help the investor’s family cope with the
                   investor’s terminal illness. Garza was made cognizant of the situation, and still insisted the investor not sell out
                   of his position with GAW.



                   This is not the only severe case of repercussions from investor losses.b Due to the immense integrity and efforts
                   of Adam Matlack, as well as a number of generous benefactors from the community, some of these individuals
                   have received financial support and assistance; mitigating some of the severe damages, they have incurred. I
                   personally know of two people whose investments, and subsequent losses, have made them homeless.




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1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 102 of 115
                   The person, who is responsible for all of these atrocities, is the same person who had not one, but four exotic
                   leased automobiles, all at the expense of investor funds. The same investors financed almost four weeks of

                                                                                            News & Updates Contact
                   ‘vacation’ in Belgium, at the turn of the year. These same investors financed a trip to The North American
                   Bitcoin Conference in Miami, Florida, not just for the CEO, but also for his wife, two children, and two
                   bodyguards, as well as for various employees of the firm. Meanwhile, investors watched their investment values
                   slowly wither away from undelivered products enhancements, unfulfilled product deliverables, irrationally over-
                   hyped promises of grandiose commercial relationships and business developments, as well as from false
                   statements of corporate financial status and fictitious outside investors and support funds. In essence, the CEO
                   was responsible for the destruction of tens of millions of dollars of investor wealth, while pumping promises
                   that would not, nor could ever, be delivered.



                   We have already lost one group member



                   In the short time that the group has been formed, we have already lost one member to an unexpected death
                   (Goroz: Grant Honeycutt). He was only 34 years old, and his health was assumed to be in top form. Regardless
                   of his untimely passing, any award recoveries due to him, will be forwarded to his surviving parents. We want
                   everyone to understand that we take this lawsuit and its success very seriously, and ensure that each member
                   will receive their portion of any awards, but also their surviving heirs, should any member suffer an untimely
                   passing, or become incapacitated. It is for this reason that we ask that all members ensure that there is an a
                   family member who is kept abreast of this lawsuit and our contact information.



                   Charge-backs and VARs



                   We want to be very clear about this. If you have successfully obtained charge-backs through your bank, you
                   MUST reduce the claim you have made for the lawsuit. I also want to ensure everyone understands that we are
                   in contact with the VARs (Value Added Resellers) to ensure that there is NO DOUBLE-DIPPING occurring. I have
                   made it clear in the forums, that charging back VARs, although the highest likelihood of receiving some of your
                   money back, also leaves these individuals with no avenue to recover their money from GAW. If you have
                   charged back any of the VARs, and have not adjusted your claim with this group, immediately upon a successful
                   VAR charge-back, we will know about it, and we will have to remove you from the group. You will no longer be
                   part of the lawsuit. You will be on your own. You are effectively taking money from others in the group who
                   have, in good faith, claimed actual losses they have not recovered. When you double-dip, you are enriching
                   yourself with other members’ prospective recoveries, without just cause.b We will be discussing the VAR
                   situation with the attorneys. We wish to determine whether we can include them in the lawsuit, in some
                   capacity.



                   A new website in development moving forward



                   In the coming week(s), another website will be online where registrants can upload the following documents
                   and details, supporting their loss positions, while also legally identifying themselves for the court. We are
                   contemplating the creation of separate accounts for registrants, using the email address entered on the first
                   web form. You will be asked to create a password to secure your account on the new website. All data will


https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                     11/20
1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 103 of 115
                   forward to an archival storage location, away from the website, for security purposes. We will ensure that there
                                                                                                                                 
                   is ample storage capacity to archive the data the membership deposits.

                                                                                            News & Updates Contact
                   Form:



                   1)bbb Full Name.
                   2)bbb Full Address;
                   3)bbb Postal code;
                   4)bbb Country of Residence;
                   5)bbb Copy of a government-issued picture ID (taken next to the individual’s face);
                   6)bbb Telephone Number;
                   7)bbb All Zencloud Account User ID(s), “NOT” passcodes;



                   8)bbb Real primary email address that is not at Gmail, Yahoo, Hotmail, MSN or other email service providers
                   (explained later). Mail Chimp will not add emails starting with “info@,” “Admin@,” or other general info email
                   addresses, such as “support@;”



                   9)bbb Amount of Hashpoints mined, converted to Paycoin;
                   10)b Amount of Hashpoints purchased from GAW directly;
                   11)b Amount of Paycoins purchase from Paybase direct (not the exchange) and Paycoin.com;
                   12) bSignature on “Release of Zencloud and Paybase Account Histories and Data,” imaged and returned via e-
                   mail;
                   13)b Signature on “Group Litigation Agreement,” imaged and returned via e-mail;;
                   14)b Signature on “Testimony on Validity of Claim,” ,” imaged and returned via e-mail,band;
                   15) bFBI submission checkbox, “yes” or “no.”



                   The three primary documents required will be created in Adobe PDF as forms. You will need Adobe Acrobat to
                   view, fill in, print and sign to email back to us. You can fill these documents and scan to email to return them to
                   us here in the U.S. The email address will be the same: gaw.lawsuit.Allen1980s@gmail.com



                   Uploads:



                   A)b Complete Zencloud account history from beginning to present (instructions follow);
                   B)b Copies of any and all sales receipts for hosted hardware, Hashlets, Stakers, and Paycoin (through Paybase);
                   C)b Copies of receipts or contracts purchasing Hashpoints from GAW (Josh Garza or Carlos Garza);
                   D)b Copies of Bitcoin transactions with GAW, Paybase, or Zencloud, and the addresses the Bitcoins were sent to
                   (This was at the FBI’s request), and;
                   E)b Copies of Bitcoin transactions coming from GAW for refunds.



                   Software




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1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 104 of 115
                   If you do not have Microsoft Office (MS Word or MS Excel), please use Google Docs                                 
                   (https://www.google.com/docs/about/) to process or create your list documents.

                                                                                             News & Updates Contact
                   Your Zencloud account histories are generated as CSV files. See the following section on Zencloud activities
                   export steps and management.



                   Your email address is important for the lawsuit. Your responses are required



                   Many of you have normal, personal email addresses you use on a daily basis, while some of you depend on
                   Gmail, Yahoo, Hotmail, GMX, and other third party email service providers with which to communicate. We want
                   to make it very clear that, should you have a personal email not from a third party provider, you should disclose
                   this in the new form, as a secondary, backup email address. If you use any of the other providers, as your
                   primary email service, continue to use that email address in the new form. As most of you are aware, we are
                   spending a sizeable amount of our personal time on this lawsuit. Allen has replied to a number of claim forms
                   requesting additional clarification with absolutely NO responses. This means that people are registering email
                   addresses that they never check, under some form of paranoia.



                   If anyone fails to respond to any requests for additional information, we have sent to a registered email
                   address, we will have to remove that person from the group within 14 days of receiving no response.b By not
                   responding, a person is abusing valuable time and effort, as well as hindering the group’s efforts in
                   negotiations, or the courts. The group cannot be held captive by people who are not taking the lawsuit
                   seriously. This is not a lottery, it is a lawsuit that requires a lot of time from a small number of people. We
                   cannot be sympathetic to a person’s claimed losses, if they are unsympathetic to our direct requests for
                   additional information or clarification of supplied information. This is a complex process, it is crypto-based, the
                   alleged GAW fraud is complicated, and the courts have little understanding of these issues, making this process
                   ten times worse than a typical fraud case. There is a lot of verification on the horizon involving a lot of
                   accounting. If some members do not cooperate fully, it will increase the workload astronomically, push the
                   lawsuit further out from completion, and potentially damage any prospective settlement or judgment efforts.



                   Our time is being used to further the group’s common goal: seeking recoveries of lost investments, as well as
                   punitive damages. We do not have time to send five or ten unanswered emails to addresses which go
                   completely ignored. Our time is uncompensated in this effort, we are not GAW, and the liabilities to any of the
                   damaged consumers of GAW, really rests with GAW, hence the litigation. Therefore, if you choose to ignore our
                   email requests, we cannot adequately support your claim. If you decide to go on vacation, you must contact us,
                   via email, to indicate the dates you will be gone, and the date you will be available again. The address is again:
                   gaw.lawsuit.allen1980s@gmail.com. This email is directly forwarded to Allen’s primary email address. As most of
                   you already know, Allen responds to many emails directly, and within a time that is achievable by Allen.



                   Zencloud Instructions



                   As stated earlier, and across all of the applicable forums, you need to download your complete account history
                   in each of your Zencloud accounts.


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1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 105 of 115
                   You will export your account history as a CSV file(s). The system only allows for exports in no more than 2000 
                   rows of data. Select your earliest account date and experiment with the number of rows any specific period
                                                                                                News & Updates Contact
                   generates. Once you check each output, save each file with a name that is distinctive, such as Zencloud Part 1,
                   Zencloud Part 2, etc. If you do not have Microsoft Excel, you can upload the parts to your account, once created.
                   We can paste them together ourselves.b For those who do not have Microsoft Office or Excel, use date
                   increments of no more than 30 days. If you have access to Google Docs, you can check the output by uploading
                   the resultant spreadsheet output to Google Docs, opening the spreadsheet there to manipulate the export date
                   range accordingly. You may also combine your output files in Google Docs.



                   Step by step:



                   Log into your Zencloud account. On the left sidebar, choose “Latest Activity.”




                   Next, your screen will fill with the most recent list of account activities, like this:




                   b



                   b




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1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 106 of 115
                   On the far, upper right, choose “Export to CSV.”                                                               


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                   b




                   Now you will see the date range box.




                   Choose the date “Start Date” as the first date of your account opening. Chose the “End Date” for 30 days later. I
                   chose 45 days, because the output was less than 1,000 rows of data, like this:




                   b



                   b



                   Click “Download.” Save the file with your account user ID like SkippyCowboy Part 1. Work your way up until the
                   current date, capturing all of your account history, including the Hashpoint mining period, and staking outputs.



                   When you open the spreadsheet, the output looks like this:




https://web.archive.org/web/20180326173436/http://gawsuit.com:80/                                                                      15/20
1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 107 of 115
                                                                                                                                       


                                                                                              News & Updates Contact




                   More heavy points



                   Do not inflate your loss claims. Someone stated they lost over $10 million. On further inspection, that loss was
                   less than $50,000. The highest, legitimate, verifiable loss is presently $1.4 million. Additionally, you cannot claim
                   the amount of damages you demand to receive with your claim. It is a “group” lawsuit, not 500 individual
                   lawsuits. Any punitive damages or awards are divided amongst the entire group membership, proportionate to
                   member’s percentage contribution to the total group losses. If you represent 1% of the total loss of the group,
                   you will receive 1% of any “collected” award from judgments that are recoverable.b We will endeavour to submit
                   all judgments to every credit bureau in the U.S., until paid in full, ensuring that Garza’s liability is made publicly
                   known to every future business, bank, or future individual investor and consumer, pulling a credit bureau
                   background check.



                   Anyone failing to upload supporting documents will either receive a substantially lesser amount, based on
                   what information we can retrieve, or will be completely removed from the group. We cannot present the
                   court with guesses about the value of each account’s loss. We have to have supporting documents and, a
                   rather massive spreadsheet will need to be created, calculating amounts from which we derive the total
                   claim of the group. If we cannot substantiate any or only part of your losses, and you upload no
                   documentation to support your claim, either we will have to re-rate the account at the lower sum we have
                   information to make an assessment from, or the claim will have to be withdrawn.



                   We are joining forces to present a powerful, influential group that will carry significant weight at the
                   negotiation table, and in the courts. As individuals, we stand little chance in succeeding in the courts, as it
                   requires knowing where the assets are, how to get to them, and a lot of money in the form of attorney’s
                   fees and retainers. As a group, each person’s share of the costs will be relatively small compared to
                   individual lawsuits. That was one of the main purposes in our forming the group. Together, everyone stands
                   a chance at winning some or all of their losses back, possibly more. As individuals, there is little chance of
                   that.


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1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 108 of 115
                   Paycoin valuation                                                                                                 


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                   Paycoin valuation, based on the promised $20.00 floor and $20.00 Honor Program, will be used to support a
                   very high punitive damage award. For those who purchased Paycoins directly from GAW’s Paybase, or from
                   GAW directly, your Paycoins (or Hashpoint equivalents) count as direct losses, and will be included in the
                   primary group loss calculation. It is important that you identify these exactly on the next form (new website).
                   Hashpoints mined prior to the distribution, are valued at 400 Hashpoints per Paycoin, or $4.00 per Paycoin.
                   Paycoins purchased directly through Paybase, not the exchange, are valued at the rate you paid. You will need
                   your receipts for these transactions.



                   To bring things into perspective, there are presently over 16 million Paycoins in circulation to date. At that
                   volume, GAW would be liable for $320 million in lost value to all people who purchased or mined them. I can
                   guarantee that neither GAW, Josh, nor the other defendants, presently possess, combined, $320 million in
                   addition to the losses from investments in Vaultbreakers, Hashlets, Stakers, or other hosted hardware. We have
                   to apportion valuations where they are realistic and where they have the most benefit to the suit. Where real
                   cash, credit or Bitcoin was transferred to GAW directly, through the Zencloud marketplace, or through Paybase
                   direct sales, that is where we define losses. Fantastical valuations based on one man’s lies is not going to be well
                   received by a court of law, but it will be well-received as coercive marketing that leads to punitive damages.



                   Purchased other members’ accounts or separate products



                   If you purchased other investors’ whole accounts, privately, the amount you paid is your loss, less receipts from
                   a further sale, not the actual retail value of the Hashlets, Stakers, or hosted hardware.



                   If you sold your account to someone else, through the Zencloud marketplace, your loss is the amount you paid
                   for everything in the account, plus commissions to GAW (5%), less earnings, and less the amount you sold the
                   account or assets for.b Do not use retail values to determine your losses, unless you purchased retail and never
                   sold anything from your account. In such cases, your investment, less revenue, equals you base loss. Lost future
                   revenues, although legitimate, are a basis for punitive damages, not base losses.



                   Group leadership



                   There will be a small group of members who will be chosen to represent the group in its entirety. These people
                   are selected based on a number of different parameters, one of which will be the amount of their verifiable,
                   personal loss in the alleged GAW fraud. Another, will be their availability and willingness to represent the group
                   in court hearings, should the need arise.b Obviously, members losing less than $10,000 will have little incentive
                   to represent the group as leaders, considering the cost they will bear to attend any court hearings representing
                   the group. Moreover, there are other leader requirements which will be called upon, from time to time.



                   This small group of leaders will represent all members of the group by proxy. This same group will be
                   empowered to make decisions, collectively, on behalf of the entire group. Should funds be recovered through
                   negotiations, this group of leaders will decide whether to accept or decline any negotiated settlement, on behalf

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1/14/2019           Case 3:16-cv-00940-MPS Document 121gawsuit
                                                         Filed 01/16/19 Page 109 of 115
                   of the entire group. The selected leaders may also decide to call for a group vote in favor of, or against, any   
                   offers from the defending parties. Since settlement offers are not offered with an endless due date for a
                   decision, having a democratic vote, by over 400 people, could be damaging.
                                                                                             News & Updates Contact
                   Once leaders are chosen, all members will sign a document/contract that states their acceptance of any and all
                   decisions agreed to by the group leaders; the decision is irrevocable. This form and contract will be on the
                   upcoming website. The agreement will be part of the account creation, and will be digitally signed by the
                   members, prior to moving on to document uploading.



                   Under United States law, no defendant can be tried twice for the same crime or complaint, by the same
                   individual(s). As members of this group, all decisions by the court(s), after all appeals have been adjudicated, will
                   end any and all claims by any of the members of the group. It is important that the correct leaders are chosen
                   to represent the group decision-making process. I will attempt to select nine people as leaders of the group. By
                   choosing an odd number, we avoid all indecisions where equal numbers of the leaders choose opposing paths
                   for the group; creating a deadlock. I will be contacting members who I feel would best represent the group’s
                   interest. These people will be disclosed on the group contract, including the amount of investment lost to GAW,
                   as transparency to the membership.



                   Further communications



                   Mail Chimp did not work out so well on the first run. Many of the email addresses resulted in bounces, via spam
                   filters.



                   If you are in receipt of this email, you are registered with the group.



                   If anyone has any questions, please feel free to contact Allen1980s.



                   Best regards,



                   Allen



                   Gaw.Lawsuit.Allen1980s@gmail.com



                   Forums:



                   https://forum.gethashing.com/b @Allen1980s
                   https://paycointalk.org/b @Allen1980s



                   Slack Channels:




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Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 112 of 115




        Exhibit G
Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 113 of 115



                       UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF CONNECTICUT

     - - - - - - - - - - - - - - - - x
                                     :
     UNITED STATES OF AMERICA        :        No.   3:17CR158(RNC)
                                     :
                vs.                  :
                                     :
     HOMERO JOSHUA GARZA,            :
                                     :        HARTFORD, CONNECTICUT
                       Defendant.    :        SEPTEMBER 13, 2018
                                     :
     - - - - - - - - - - - - - - - - x


                                 SENTENCING


           BEFORE:

                     HON. ROBERT N. CHATIGNY, U.S.D.J.




     APPEARANCES:


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                                          Darlene A. Warner, RDR-CRR
                                          Official Court Reporter
     Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 114 of 115
                                                        Page 23


1         money is easily recoverable or can be built back up

2         through, you know, business or something.         We have to look

3         outside the United States as well and we have to look at

4         how a hundred dollars is a lot of money to people in, say,

5         Northern India or Malaysia or Vietnam or China even today.

6                     So with that, I had correspondence with a person

7         named Endra, I'm not sure if it's a male or female to be

8         honest, who states the loss of $800 to GAW is kind of a

9         lot of money in Malaysia, I assume where this person lives

10        in Malaysia.

11                    So, in essence, what I did glean from the data

12        mining, the data harvesting, was we had basically victims

13        with as little as $100 and as much as $1.3 million.

14                    We had two Wall Streeters who each lost about

15        $900,000 in this.

16                    We had a decent number of individuals in the

17        $100,000 plus range, but short of a million, and we had a

18        lot of people in the 20, 25, 30, 35,000 dollar loss range;

19        and what we did in the beginning to try to help people to

20        recover what they could, through the charge back process,

21        a lot of people used credit cards.        It was not the success

22        I thought it would be.

23                    I was a recipient of some intelligence that

24        indicated that Braintree, the PayPal processor, had about

25        $900,000 that they had still held back from previous
     Case 3:16-cv-00940-MPS Document 121 Filed 01/16/19 Page 115 of 115
                                                        Page 24


1         transactions, held back, and so there was a bit of a group

2         effort to try to get everybody through, that used credit

3         cards, to get everybody through the charge back process,

4         which turned out to be far more difficult than people

5         realized.

6                     A lot of these credit card agreements give you a

7         90 day window to charge anything back with good reason, of

8         course.    And I think the problem we had for most people

9         was that their charges or what they purchased was already

10        past the 90 days.     And also some banks didn't -- they

11        looked at these as investments at the time, which we know

12        now are -- they were fundamentally investments, like

13        securities, like bonds, like whatever, you know, in the

14        financial world, and a lot of the banks did look at these

15        things and said this is not a product sitting in your

16        living room, it's sitting in some ubiquitous warehouse

17        somewhere that's no longer functioning, and that's the way

18        they looked at it.

19                    So a lot of people did not get their charge

20        backs fulfilled, but we tried to get as many people

21        through that process to drain the Braintree fund as much

22        as possible to try to recoup losses as much as possible

23        for everybody that was still around looking for help, you

24        know, to do this.

25                    I wanted to address this one part, and it may be
